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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

Milton Rudi,
Plaintiff, Case No. 2:20-cv-3068
Vv. Judge Michael H. Watson
Leslie H. Wexner, et al., Magistrate Judge Deavers
Defendants.

ORDER PRELIMINARILY APPROVING SETTLEMENT AND SETTING
SETTLEMENT HEARING

The parties, (1) Oregon; (2) Rudi; (3) Detroit; (4) Lambrecht; (5)
Giarratano; and (6) Kualii (collectively with Rudi, Oregon, Detroit, Lambrecht, and
Giarratano, the “Settling Shareholders”); (7) current and former members of the
Board of Directors of L Brands, Inc. (the “Board”): Leslie H. Wexner, Abigail S.
Wexner, Allan R. Tessler, Gordon Gee, Raymond Zimmerman, Patricia S.
Bellinger, Donna A. James, Michael G. Morris, Sarah E. Nash, Robert H.
Schottenstein, Anne Sheehan, Stephen D. Steinour, David T. Kollat, and Dennis
S. Hersch (collectively, the “Board Members”); (8) former officers of L Brands,
Inc.: Leslie H. Wexner and Edward Razek (the “Officers,” and, together with the
Board Members, the “Individual Defendants”); (9) nominal defendant L Brands,
Inc. (“L Brands” or the “Company,” and, together with the Individual Defendants,
the “Defendants”); and (10) the Special Committee of the L Brands Board (the

“Special Committee,” and together with the Settling Shareholders and the
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Defendants, the “Parties”) have entered into a Stipulation and Agreement of
Settlement dated July 29, 2021, which sets forth the terms and conditions of the
proposed settlement (the “Stipulation”) that provides for a complete dismissal
with prejudice of the claims asserted in the Litigations, withdrawal of the
Demands, and the release of the Released Stockholder Claims on the terms and
conditions set forth therein, subject to the approval of this Court.

In accordance with the terms of the Stipulation, Plaintiff's counsel filed an
unopposed motion for an order preliminarily approving the Stipulation; approving
the form, content, and method of providing notice of the Stipulation to Current
Company Stockholders; and scheduling the date and time for the Stipulation
Hearing, as defined herein. ECF No. 23.

The Court has read and considered the Stipulation and its exhibits,
including (i) the proposed Notice of Pendency and Proposed Settlement of
Derivative Actions (“Notice”); (ii) the proposed Summary Notice of Pendency and
Proposed Settlement of Derivative Actions (“Summary Notice”); and (iii) the
proposed Order and Final Judgment finally approving the Stipulation
(“Judgment”).

Finding that substantial and sufficient grounds exist for entering this Order,
the Court hereby ORDERS as follows:

1. This Order incorporates by reference the definitions in the Stipulation
and, unless otherwise defined in this Order, all capitalized terms used in this

Order shall have the same meaning as set forth in the Stipulation.

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2. The Court preliminarily approves the Stipulation on the terms set forth in
the Stipulation, subject to further consideration at a hearing (the “Fairness
Hearing”) to be held before the Court on January 18, 2022, at 11:00 a.m. either in
person at the United States District Court for the Southern District of Ohio, 85
Marconi Boulevard, Columbus, Ohio 43214 or by telephone or video conference,
to consider whether the Judgment, substantially in the form of Exhibit D to the
Stipulation, should be entered: (i) finally approving the terms of the Stipulation as
fair, reasonable, and adequate and in the best interests of L Brands (which, as
defined in the Stipulation, includes its successors Bath & Body Works and
Victoria’s Secret) and L Brands’ Stockholders; (ii) dismissing with prejudice the
Ohio Action against Defendants pursuant to the terms of the Stipulation; and (iii)
ruling upon Settling Shareholders Counsel's application for a Fee and Expense
Award.

3. The Court expressly reserves the right to adjourn the Faimess Hearing,
or any adjournment thereof, without any further notice to L Brands Stockholders
other than an announcement at the Fairness Hearing or at any adjournment of
the Fairness Hearing. The Court expressly reserves the right to approve the
proposed Stipulation with such modifications as the Parties may agree to without
further notice to L Brands Stockholders. The Court reserves the right to enter its
Judgment approving the Stipulation and dismissing the Released Stockholder
Claims against the Defendants with prejudice regardless of whether the Court

has awarded the Fee and Expense Award. The Court also reserves the right to

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extend any of the deadlines set forth in this Order without further notice to L
Brands Stockholders. The Court further reserves the right to hold the Fairness
Hearing by telephone or video conference without further notice to L Brands
Stockholders. If the Court orders that the Fairness Hearing be conducted
telephonically or by video conference, that decision will be posted on Bath &
Body Works’ and Victoria’s Secret’s respective investor relations websites.

4. The Court approves the form, content, and requirements of the Notice
attached to the Stipulation as Exhibit B and the Summary Notice attached to the
Stipulation as Exhibit C and finds that the dissemination of the Notice and
Summary Notice, substantially in the manner and form set forth in this Order,
meets the requirements of Rule 23.1 of the Federal Rules of Civil Procedure and
due process, and constitutes due and sufficient notice of all matters relating to
the Stipulation.

5. Within fourteen calendar days of the Court’s entry of this Order, Bath &
Body Works and Victoria’s Secret shall: (i) each file a Form 8-K with the United
States Securities and Exchange Commission which shall include the Notice as
an attachment, (ii) cause the Summary Notice to be published in Investor's
Business Daily, and (iii) post the Notice and Stipulation on Bath & Body Works’
and Victoria’s Secret’s respective investor relations websites until the Judgment
becomes Final. Bath & Body Works shall cause to be paid all costs of notice of
the Stipulation (other than the Form 8-K to be filed by Victoria’s Secret and the

posting of the Notice and Stipulation on the Victoria’s Secret investor relations

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website, which costs will be paid by Victoria’s Secret) regardless of whether the
Stipulation is not finally approved by the Court or the Effective Date otherwise
fails to occur.

6. Settling Shareholders’ Counsel will also post the Notice on their firms’
respective websites.

7. At least seven calendar days prior to the Fairness Hearing, L Brands’
counsel shall file with the Court an appropriate affidavit or declaration with
respect to filing of the Form 8-K, publication of the Summary Notice, and posting
of the Notice and Stipulation.

8. Any Person who held L Brands stock as of July 29, 2021, and continues
to hold common stock either in Bath & Body Works or Victoria’s Secret as of the
date of the Fairness Hearing (“Current Company Stockholder”) may appear at
the Fairness Hearing to show cause why the proposed Stipulation should not be
approved; why the Judgment should not be entered thereon; or why Settling
Shareholders’ Counsel's application for the Fee and Expense Award should not
be granted; provided, however, that no such Person shall be heard or entitled to
contest the approval of the terms and conditions of the proposed Stipulation, the
Judgment to be entered approving the same, or the application for the Fee and
Expense Award, unless such Person has filed with the Clerk of the United States
District Court for the Southern District of Ohio, 85 Marconi Boulevard, Columbus,
Ohio 43215, and served (by hand, first-class mail, or express service) on Settling

Shareholders’ Counsel and counsel for the Special Committee of the Board, a

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written and signed notice of objection that includes: (i) the objector’s name,
address, and telephone number (and if represented, that of his, her, or its
counsel), along with a representation as to whether the objector intends to
appear at the Fairness Hearing; (ii) proof that the objector owned shares of L
Brands common stock as of July 29, 2021, and continues to hold common stock
either in Bath & Body Works or Victoria’s Secret; (iii) a statement of the
objections to any matters before the Court, the grounds for the objections or the
reasons for the objector’s desiring to appear and be heard, as well as all
documents or writings the objector desires the Court to consider, including any
legal and evidentiary support; and (iv) if the objector has indicated that he, she,
cr it intends to appear at the Fairness Hearing, the identities of any witnesses the
objector may call to testify and any exhibits the objector intends to introduce into
evidence at the Fairness Hearing. Any such objection must be filed with the
Court and received by the below-noted counsel by no later than twenty-one
calendar days prior to the Fairness Hearing.
Counsel for Plaintiff Rudi and Detroit Police & Fire
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Scott + Scott Attorneys at Law LLP12434 Cedar Road, Suite 12
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Counsel for Oregon
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Brands
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Wachtell, Lipton, Rosen & Katz
51 W. 52nd Street
New York, NY 10019

Robert W. Trafford
Porter, Wright, Morris & Arthur
41 South High Street
Suites 2800 - 3200
Columbus, OH 43215
9. Documentation establishing ownership of L Brands, Bath & Body Works,

and/or Victoria’s Secret commen stock must consist of copies of monthly

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brokerage account statements, or an authorized statement from the objector’s
broker containing the information found in an account statement.

10. Any Person who fails to object in the manner described above shall be
deemed to have waived the right to object to any aspect of the proposed
Stipulation and the Fee and Expense Award (including any right of appeal or
collateral attack); be forever barred and foreclosed from objecting to the fairness,
reasonableness, or adequacy of the Stipulation, the Judgment to be entered
approving the Stipulation, or the Fee and Expense Award; and be deemed to
have waived and forever barred and foreclosed from being heard, in this or any
other proceeding with respect to any matters concerning the Stipulation or the
Fee and Expense Award.

11. Plaintiff shall file and serve papers in support of final approval of the
proposed Stipulation, and Settling Shareholders’ Counsel shall file and serve
papers in support of their application for the Fee and Expense Award, by no later
than thirty-five calendar days prior to the Fairness Hearing; any objections
thereto shall be filed and served no later than twenty-one calendar days prior to
the Fairness Hearing. If reply papers are necessary, they are to be filed and
served by no later than seven calendar days prior to the Fairness Hearing. The
Parties shall be permitted to file reply papers regardless of whether they filed
opening papers in support of the proposed Stipulation. Only a single application
for the Fee and Expense Award shall be filed on behalf of all Settling

Shareholders and Settling Shareholders’ Counsel.

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12. Until otherwise ordered by the Court, the Court stays all proceedings in
the Ohio Action other than proceedings necessary to carry out or enforce the
terms and conditions of the Stipulation.

13. Pending final determination of whether the Stipulation is approved, the
Court bars and enjoins all Settling Shareholders and all other L Brands
Stockholders from asserting, commencing, instituting, or prosecuting any of the
Released Stockholder Claims against any of the Released Defendant Persons.

14. Neither the Stipulation (including any exhibits attached thereto), nor
any act performed or document executed pursuant to or in furtherance of the
Stipulation: (i) is or may be deemed to be or may be offered, attempted to be
offered, or used or referred to in any way by the Parties as a presumption, a
concession, an admission, or evidence of any fault, wrongdoing, or liability of any
of the Parties or of the validity of any Released Claims; or (ii) is or may be
deemed to be or may be used as a presumption, concession, admission, or
evidence of any liability, fault, or omission of any of the Released Persons in any
civil, criminal, or administrative proceeding in any court, administrative agency, or
other tribunal. Neither the Stipulation, nor any act performed or document
executed pursuant to or in furtherance of the Stipulation, shall be admissible in
any proceeding for any purpose, except to enforce the terms of the Stipulation,
and except that the Released Persons may file the Stipulation and/or the
Judgment in any action or proceeding that may be brought against them to

support a defense or counterclaim based on principles of res judicata, collateral

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estoppel, full faith and credit, release, standing, good faith settlement, judgment
bar or reduction, or any other theory of claim preclusion or issue preclusion or
similar defense or counterclaim.

15. The Court retains jurisdiction to consider all further applications arising

out of or connected with the proposed Stipulation.

IT IS SO ORDERED. Nyiuclach/ Mt,

MICHAEL H. WATSON, JUDGE
UNITED STATES DISTRICT COURT

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